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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
IN DEFENSE OF ANIMALS
Plaintiff,
Vv.
THE UNITED STATES DEPARTMENT
OF AGRICULTURE,
No. 02-0557 (RWE)
Defendant,
and

LIFE SCIENCES RESEARCH, INC.,

Intervenor-Defendant.

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DECLARATION OF HUGH GILMORE

I, Hugh Gilmore, hereby declare:
1 T am a Program Specialist/Information Analyst with the Freedom of Information Act
(FOLA) staff in the Legislative and Public Affairs Division (LPA) of the Animal and Plant Health
Inspection Service (APHIS) of the United States Department of Agriculture (USDA). Ihave _
been a Program Specialist at APHIS since August 2000.
2. Prior to coming to APHIS, I worked on the FOIA staff at a bureau of the Department of

Treasury since 1988. I am also a member of the Massachusetts Bar.

Factual Background
 

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3. Huntingdon Life Sciences (Huntingdon) is a Contract Research Organization (CRO) that
provides product research and development services to pharmaceutical, biotechnology, medical
device, and chemical companies. At the time relevant to this lawsuit, Huntingdon was a
corporation incorporated in the state of Delaware.

4, At the time relevant to this lawsuit, Huntingdon was registered and operating as a
research facility as defined by the Animal Welfare Act (AWA), 7 U.S.C. § 2131-59. Such
research facilities are regulated by the USDA pursuant to the AWA. See 9 C.F.R. § 1.1 et seq.
There are over 1200 registered research facilities in the United States, many of which were CROs
such 2s Huntingdon. |

5: In 1997, APHIS (the USDA component responsible for enforcing the AWA) conducted
an investigation of Huntingdon for alleged violations of the AWA. During the course of that
investigation, APHIS obtained copies of Huntingdon's records pursuant to 9 C_F.R. § 2.38{a)-(b)
(2002). These records concemed Huntingdon's use of test subjects during the course of product
testing conducted on behalf of the pharmaceutical, biotechnology, medical device, and chemical
compamies that are its clients. Huntingdon's clients were charged hundreds of thousands of
dollars for the research services reflected in these records.

6. On March 30, 1998, USDA filed an administrative Complaint against Huntingdon for
alleged violations of the AWA.

is On Apnil 4, 1998, the administrative Complaint against Huntingdon was settled by the
entry of a Consent Decision and Order.

3. On November 20, 2000, Ehot M. Katz, D.V.M., President of In Defense of Animals

(IDA) sent a letter entitled “Freedom of Information Act Request” to Michael Marquis, Assistant

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Director, LPA, APHIS (copy attached as Exhibit A). The request was received at APHIS on
November 28, 2000, and assigned contral number FOIA 01-46.

q. A thirty-one page interim response was provided to Ms. Barbara Stagno of IDA by letter
dated April 13, 2001, from Kimberly Pacheco, FOIA Officer, LPA, APHIS (copy attached as
Exhibit B). This partial response consisted of a Report of Violation in Case no. NJ97020-AW
(the case number for the Huntingdon investigation) dated October 9, 1997: a Complaint, AWA
Docket No. 98-15, dated March 30, 1998; and a Consent Decision and Order dated Apml 8, 1998.
Ms, Stagno was advised by Ms. Pacheco that this would be a partial response, with the remainder
of the responsive records being placed in the regular FOLA processing queue, where there were
18 shelves of records responsive to requests received prior to hers.

10. On March 22, 2002, IDA filed a Complaint For Declaratory and Injunctive Relief in the
United States District Court for the District of Columbia because it had not received a final
response to its FOIA request. Shortly thereafter, I was assigned IDA's FOLA request by Lynn
Dubose, Supervisory Program Specialist, LPA, APHIS-

ll, By letter dated June 18, 2002, a second interim response Was provided to IDA through its
counsel, Katherme Meyer (copy attached as Exhibit C), Of the records provided with that
response, 228 pages were released in full, 146 pages were released with redactions made
pursuant to Exemption 7(C) of the FOTA, 5 U.S.C. 552(b)(7)(C), one page was released with
redactions made pursuant to Exemption 5 of the FOIA, 5 U.S.C. 552(b)(5), and 19 pages were
withheld in full pursuant to Exemption 5 of the FOIA. This letter further advised IDA that 2384

pages Qvhich upon recount actually totaled 2408, with an additional 60 sent at a later time, for a
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total of 2468) were being forwarded to Huntingdon pursuant to USDA's predisclosure
notification procedures concerning business information, which are set forth at 7 CFR § 1.12.
12. At the completion of the prediscloure notification process, a third response was provided
to IDA, through counsel, by letter dated August 19, 2002 (copy attached as Exhibit D). This
response contained 303 pages released in full, 602 pages released in part, and 1563 pages
withheld in full pursuant to Exemptions 4, 6, and 7(C).
13. Thus, the administrative processing of IDA's request resulted in the release of 562 pages
in iull, and 748 pages withheld in part and 1582 pages withheld in full pursuant to Exemptions 4,
5, 6, and 7(C) of the FOLA.

Information Withheld Under Exemption 4
14. Generally speaking, the information withheld pursuant to Exemption 4 falls into two
broad categories: information that describes the design of and methods used in scientific tests
conducted by Huntingdon on behalf of its clients, and information that characterizes the
physiological and health effects of the proprietary experimental compounds tested by Huntingdon
on behalf of its clients (i.e.. the test results). Because it was determined that the release of such
infonnation would cause Huntingdon substantial competitive harm, any information falling
within these two categories was withheld pursuant to Exemption 4. Moreover, information
describing Huntingdon's test designs and methods, which would reveal Huntingdon's special and
umique siete for conducting its tests, were withheld as trade secrets under Exemption 4.
Finally, descriptions of the composition of the experimental compounds of Huntingdon's clients
were also withheld as trade secrets under Exemption 4. All other reasonably segregable

nonexempt information was released to plaintiff.

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15. Information describing test designs and methods. The following information

concerning the design of and methods used in scientific tests conducted by Huntingdon on behalf

of its clients was withheld pursuant to Exemption 4:
A. Standard Operating Procedures (466 pages withheld in full)- Huntingdon's
Standard Operating Procedures (SOPs) set forth in explicit detail all of the procedures
and methods used in Huntingdon's research, including: the identification, storage,
handling, mixing, and method of sampling the experimental compounds to be tested;
methods and procedures used in laboratory tests; procedures for observing reactions in
test subjects: necropsy and postmortem examinations of test subjects; collection and
identification of specimens: and the maintenance and calibration of the Huntingdon's
laboratory equipment. Essentially, all of the Huntingdon's business practices are codified
in the SOPs. In light of the detailed nature of these commercially sensitive records, it was
determined that they contain no reasonably segregable nonexempt information.
B. Test Protocols and Protocol Amendments (467 pages withheld in fu!). These
records describe the designs for and methods used in Huntingdon's laboratory testing of
proprietary experimental compounds for its clients. Each protocol describes the
objectives for and methods used in the conduct of each of the tests, including: a
description of the proprietary experimental compound tested (including their chemical
formulas), the name of the client on whose behalf Huntingdon conducted the test; a
description of the subjects on which the propriety experimental compound was tested; a
description of the experimental design; the dosing level of the compound tested,

including the amount and frequency of the dosing; the type and frequency of tests,

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analyses, and measurements made during the test; and a description of the statistical
methods used to analyze the test results. The test protocol amendments reflect alterations
to any element of the testing protocols. In essence, these records are the "blueprints" for
the tests that Huntingdon conducted for its clients, and because of their particularized
descriptions of Huntingdon's test designs and methods, they contain no reasonably
segregable nonexempt information.

ce Animal Tracking and Assessment Records (20 pages released in part, 8 pages
withheld in full). These records contain information regarding the suitability and
selection of test subjects in accordance with the confidential standard operating
procedures and test protocols described above. Information that would not reveal
anything about the standard operating procedures or test protocols was segregated and
released.

D. Final Test Reports and Related Records (125 pages withheld in full). Portions
of these records contain detailed descriptions of the designs and methods used in
Huntingdon's laboratory studies, and essentially recapitulate much of the information
contained in the testing protocols described above. Such information includes: the
objectives and procedures stated in the testing protocol; a description of the experimental
proprietary compound tested; a description of the testing methods used; and a description
of the dosage, dosing regimen, and route of administration. These records were withheld
in full because, in addition to containing information about the confidential test protecols
described above, they contain characterizations of the physiological and health effects of

proprietary experimental compounds tested by Huntingdon which, as discussed below,

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are also exempt from disclosure. Thus, they contain no reasonably segregable nonexempt
information.
E. Institutional Animal Care and Use Committee (LACUC) Records (2 pages
released in part, 54 pages withheld in full). These records consist of IACUC meeting
minutes, memoranda, and inspection reports. They contain discussions of issues related
to the implementation of the confidential standard operating procedures and test protocols
described above. They also contain detailed descriptions of Huntingdon's research
facilities and equipment (including planned capital improvements thereto), its
information technology systems, and its employee training programs. Inasmuch the
release of any portions of these records would reveal confidential commercial information
about Huntingdon's general business practices and its research operations, they contain no
reasonably segregable nonexempt information.
F. Dosing Charts (58 pages withheld in full). These records consist of charts that
record the dosing of tested compounds and other substances -- including the amount and
frequency of the dosing — in accordance with the standard operating procedures and test
protocols described above. faatinieh as these charts reveal Huntingdon's test designs and
methods for administering the experimental test compounds, they contain no reasonably
segregable nonexempt information.

16. Information that describes the results of the tests. Information that characterizes the

physiological and health effects of the proprietary experimental compounds tested by Huntingdon

were withheld pursuant to Exemption 4 as well. This information, which was generated,
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collected, and analyzed using the confidential designs and methods contained in the standard

operating procedures and test protocols described above, consists of-
A. Clinical Observation Raw Data Reports (121 pages withheld in full). These
pages contain raw data from the tests conducted by Huntingdon. Inasmuch as they
contain no information other than raw data, they contain no reasonably segregable
nonexempt information.
B, Interim Test Reports (22 pages withheld in full). These mid-study status reports
contain summaries of clinical observations taken during the tests, including: urinalysis,
blood pressure, hematology, clinical chemistry, food and fluid intake, fecal and fluid
output, body weight, mortality, and other physical observations taken of the test subjects.
Inasmuch as these records consist entirely of clinical observations that characterize the
physiological and health effects of the proprietary experimental compounds tested by
Huntingdon, they contain no reasonably segregable nonexempt information.
C: Necropsy and Postmortem Examination Reports (23 pages withheld in full).
These records consist of observations that were taken through necropsy or postmortem
examinations of the test subjects, and describe the physiological and health effects of
proprietary experimental compounds tested on them. They contain no reasonably
segregable nonexempt information.
EL Final Test Reports and Related Records (125 pages withheld in full). Portions
of these records contain detailed descriptions of the designs and methods used in
Huntingdon's laboratory studies, thereby recapitulating much of the information contained

in the standard operating procedures and test protocols described above. These records

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wes contain information concerning the results of those tests, inasmuch as they contain
characterizations of the physiological and health effects of proprietary experimental
compounds tested by Huntingdon, including: the stability of the experimental compound
under the conditions of administration; a description of all circumstances that may have
affected the quality or integrity of the data generated by the test; the statistical methods
employed for analyzing the data; and a summary of the data analysis, including a
statement of the conclusions drawn from that analysis. Inasmuch as these records consist
entirely of information describing the test designs, methods, and results, they contain no
teasonably segregable nonexempt information.
E: Viability Records (397 pages released in part, 67 pages withheld in full). These
are charts on which clinical observations of the condition of test subjects taken during
testing are recorded. |
(1) On the 397 pages of viability records released in part, the above-describe
confidential commercial information — including clinical observations that would
reveal the physiological and health effects of the tested compounds — were
withheld. Observations that did not appear to reveal anything about the test
results were segregated and released. For example, observations about conditions
clearly caused by things other than the tested compounds — such as subjects being
bitten by other subjects and subjects being injured by getting caught in their cages
— were released. Also, observations of symptoms too general to be linked to the

side effects of the tested compounds were segregated and released.
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(2) However, 67 pages of viability records were withheld in full because, in
addition to containing clinical observations about the physiological and health
effects of the tested compounds, their very structure reveals the test results. These
records consist of charts for recording written clinical observations taken during
the test. Within those charts are numerous preprinted columns for recording
anticipated side effects specific to the test compounds themselves. Thus, the very
structure of these charts reveals the anticipated results of the tests in which they
were used. Because nothing of informational value would have remained on these
charts after the excision of the clinical observations and the columns that reveal
the anticipated results of the tests, they were withheld in full.
F. Weterinary Treatment Requests and Logs (20 pages released in part, 94 pages
withheld in full). These records describe treatments requested for and provided to the test
subjects. Most of these records concern treatments that were requested and provided to
alleviate reactions of side effects caused by the tested compounds, yet some of these
records concer treatments that were requested and provided to address conditions
apparently not linked to the tests themselves.
(1) Only those portions containing the above-described confidential busmess
information -- including observations of symptoms and side effects that reveal the
physiological and health effects of the tested compounds -- was excised from sie
20 pages released in part. The remaining portions of these records were released
because they describe symptoms and treatments that do not reveal anything about

the physiological and health effects of proprietary experimental compounds.

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G.

Some of these effects were caused by circumstances other than the administration
of test compounds -- such as subjects being bitten by other subjects, subjects
being injured by getting caught in their cages, or subjects being Injured while
loose from their cages — so their release does not reveal anything about the test
compounds. In other instances, the side effects and their teatments were
described too generally to be linked to the tested compounds. Accordingly, such
nonexempi information was segregated and released.

(2) However, the remaining 94 pages of veterinary records contained no
reasonably sepregable information. These records provide detailed descriptions of
symptoms resulting from the administration of the tested compounds and the
treatments provided to alleviare those symptoms. The release of this information
would reveal the physiological and health effects of proprietary experimental
compounds, 1.¢., the very information that the tests were designed to generate.
Given the detailed nature descriptions of the symptoms and treatments reflected in
these records, no nonexempt information coiled be reasonably segregated and
released from them.

Internal Huntingdon Memoranda (7 pages withheld in part, 33 pages withheld

in full). These memoranda consist of discussions of issues that arose during the course of

tests conducted pursuant to the confidential standard operating procedures and test

protocols described in above. Inasmuch as these discussions concem the use of test

designs and methods in light of observations taken during the tests (all of which are

exempt), these memoranda contain no reasonably segregable nonexempt information.

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H. Internal USDA Investigatory Memoranda (27 pages felnaind in part). These
memoranda discuss the bases for each charge that USDA contemplated bringing against
Huntingdon for violations of the Animal Welfare Act. Although these records could have
been withheld in their entireties under the deliberative process privilege pursuant to
Exemption 5, only those portions containing the above-described confidential business
information were withheld, pursuant to Exemption 4-

17. Release of Information Describing Huntingdon's Test Designs and Methods Would

Cause Substantial Competitive Harm.
A. The release of information that describes the design of and methods used in tests
conducted by Huntingdon would cause it substantial competitive harm by providing its
competitors with unfair business advantages. First, these records are the “blueprints” for
Huntingdon's research services; they describe the special and unique test designs and
methods that are the product of decades of Huntingdon's business evolution, and they
reflect the substantial scientific and technical expertise that its employees have developed
over that time. As discussed above, these records describe in explicit detail nearly every ‘
aspect of Huntingdon's business. Thus, providing competitors with information revealing
Huntingdon's test designs and methods would allow them to replicate Huntingdon's
research services without investing the same amount of time, effort, and money that
Huntingdon expended in developing them. Because competitors would be able to
unfairly appropriate the fruits of this substantial investment at little or no cost to

themselves, their competing services would likely be marketed at prices significantly

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below those charged by Huntingdon, thus causing Huntingdon substantial competitive
harm through the erosion of its market share.
B. Second, the release of information concerning Huntingdon's test designs and
methods would provide its competitors with an unfair business advantage by revealing its
costs and profit margins. As discussed above, these records describe aspects of
Huntingdon's business operations -- including its facilities, equipment, employee training
programs, and information technology systems -- from which a competitor could derive
Huntingdon's overhead costs. Furthermore, given that these records also contain detailed
descriptions of every aspect of the research conducted in Huntingdon'’s facilities, as well
as information concerning the expertise of the employees who perform that work, a
competitor could derive labor and other costs directly associated with those tests-
Huntingdon's competitors could then use this cost information to extrapolate
Huntingdon’s profit margin on these research services. Thus, the release of these records
would provide Huntingdon’s competitors with information that could be used to price
thcir own competing research services more competitively, thereby allowing them to
untairly erode Huntingdon's market share. Because of the substantial competitive harm
that such a release could cause to Huntingdon, information conceming its test designs and
methods was withheld pursuant to Exemption 4.

18. Release of Information That Describes the results of Huntingdon's Tests Would

Cause Substantial Competitive Harm.
A. The release of informetion that characterizes the physiological and health effects

of proprietary experimental compounds tested by Huntingdon (i.c., the test results) would

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cause substantial competitive harm to Huntingdon. This information was collected and
analyzed in accordance with methods and procedures established in Huntingdon's
standard operating procedures and test protocols, which govern the collection of test data
through observations of reactions to the test materials, the collection of specimens from
the test subjects, and necropsy and portmortem examinations of the test subjects. The
raw test reports, necropsy and postmortern examination reports, final test reports, viability
records, and veterinary treatment logs all contain information that was collected or
analyzed using those confidential pracedures and methods. Thus, the release of these
records would reveal! not only the test data, but also the confidential methods and
procedures used to generate them. As discussed above, the release of information that
Teveals the Huntingdon's test procedures and methods would cause Huntingdon
substantial competitive harm by allowing competitors to appropriate those procedures and
methods to develop their own competing research services. Therefore, inasmuch as these
records reveal Huntingdon's confidential procedures and methods for collecting and
analyzing test data generated by its research services, they were withheld pursuant to
Exemption 4.

B. The release of information that describes the physiological and health effects of
the proprietary experimental compounds of Huntingdon's clients would cause substantial
competitive harm to those clients. These test results are an important preliminary step in
assessing the performance of experimental compounds that may eventually be marketed
to the public. Release of this information would allow competitors to identify the

compounds that performed well in the tests conducted by Huntingdon, and those that did

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not. As such, this information would give the competitors of Huntingdon's clients a
"head start" in developing competing products, because they would be able to focus their
own research and development efforts on those compounds that have promise;
conversely, competitors would be able to avoid wasting their research and development
resources on "dead ends," because these records would identify compounds that did not
warrant further investigation because of their poor performance on the tests. Thus, the
release of this information would cause substantial competitive harm to Huntingdon's
clients because their competitors would be able to expend less time, effort, money, and
resourecs in researching and developing their own competing products. Such competing
products likely would be marketed sooner and at lower prices because their producers
would not have to recapture the research and development costs that Huntingdon's clients
paid for the services that generated the test results at issue in this case. Accordingly, this
information was withheld pursuant to Exemption 4 because its release would cause
substantial competitive harm.

Huntingdon's Test Designs and Methods are Trade Secrets Under Exemption 4. In

addition to causing substantial competitive harm, the release of information conceming

Huntingdon's test designs and methods would reveal Huntingdon’s trade secrets. As noted above,

these records contain designs and methods that are essentially the "blueprint" for the research that

Huntingdon conducts. These designs and methods are the product of decades of Huntingdon's

business evolution, and are the product of the significant expertise that its employees have

developed over that time. Moreover, these designs and methods have significant value, im that

they were used to conduct research that was sold for hundreds of thousands of dollars to clients

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in the pharmaceutical, biotechnology, medical device, and chemical industries. Therefore,
information concerning Huntingdon's test designs and methods were withheld under Exemption
4 because they are trade secrets.
20. The Experimental Compounds of Huntingdon's Clients are Trade Secrets Under
Exemption 4. As noted above, the records at issue in this case contain descriptions of the
experimental compounds of Huntingdon's clients, including their chemical compositions. In one
instance, even the very name of the experimental compound was labeled as a trade secret. As
noted above, these experimental compounds are tested for the purpose of determining if they can
be developed into products for the consumer market. As such, they were withheld because they
are trade secrets within the context of Exemption 4.

Records Withheld Under Exemption 5
2].  Inaddition to the records described above, 19 pages of intra-agency memorandums were
withheld in full and one page was withheld in part under Exemption 5. These records contain
deliberations among APHIS investigators and the Office of General Counsel (OGC) about what
charges should be included in the AWA Complaint that was ultimately filed against Huntingdon.
Because these records are subject to both the deliberative process and attorney work-product
privileges, they were withheld pursuant to Exemption 5.
22. The attorney work-product protects those records generated by an attomey, or by a
nonattomey at the direction of an attorney, in reasonable anticipation of litigation. The records
that were withheld under Exemption 5 were generated by an attorney in USDA's OGC and by
APHIS investigators at his direction. These records were generated in reasonable anticipation of

litigation because they concern the drafting of a Complaint that was ultimately filed in an

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administrative proceeding against Huntingdon. They consist of recommendations that certain
charges be filed in that complaint, evaluations and opinions of the evidentiary and legal support
for those proposed charges, and draft language for charges that were considered for inclusion in
the complaint. Thus, the release of this information would reveal the USDA attomey's thoughts,
opinions, impressions, and evaluations of the relative strengths and weaknesses of the case
against Huntingdon. Therefore, this information was withheld under Exemption 5 pursuant to
the attomey work-product privilege.

23. ‘The deliberative process privilege protects internal pre-decisional agency deliberations.
As described above, the withheld information consists of deliberations among agency personnel
about the drafting of the Complaint. This information is pre-decisional because it was generated
prior to the final decision, i-e., the filing of the AWA Complaint against Huntingdon.
Furthermore, this information is deliberative because it consists of recommendations that certain
charges be filed in that complaint, evaluations and opinions of the evidentiary and legal support
for those proposed charges, and draft language for charges that were considered for inclusion in
the cormplaint. Release of this information would reveal USDA's frank and uninhibited
discussions about the proper course to be taken in the law enforcement action against
Huntingdon. Although these communications do contain discussions of facts uncovered during
the investigation of Huntingdon, they are so inextricably connected to the deliberative material
that their disclasure would expose USDA's deliberations by revealing the pertinent facts on
which the evaluations and opinions of the proposed charges were based. Because of the chilling
effect that the release of these records would have on internal agency deliberations, they were

withheld under Exemption 5 pursuant to the deliberative process privilege.

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Records Withheld Under Exemptions 7(C)
24. Records which contained the nares and address of private citizens who communicated
with USDA about Huntingdon, as well as names and personal! information (such as professional
qualifications) of Huntingdon's employees, were withheld pursuant to Exemption 7(C). No
USDA employee names or personal information was withheld.
25. This information was compiled pursuant to a law enforcement investigation conducted
under the AWA. The private citizens and Huntingdon employees mentioned in these records
have a significant privacy interest in not having their names associated with a law enforcement
investigation because of the taint that such an association could cause. Furthermore, there is no
public interest in the release of this information because its release would not shed any light
whatsoever on the operations or activities of the government. Therefore, this information was
withheld pursuant to Exemption 7(C).
The Search for Responsive Records

26. Three USDA components were involved in the investigation of Huntingdon -- Animal
Care, Investigative and Enforcement Services (IES), and the Office of General Counsel.
Therefore, searches were conducted in each of those three components.

A. Animal Care. Three offices within Animal Care were involved in the

investigation of Huntingdon — the Animal Care headquarters staff, the Deputy

Administrator's Office (located in Animal Care headquarters), and the Animal Care

Eastern Regional Office in Raleigh, NC. These three searches yielded responsive records,

all of which were copied and forwarded to the APHIS FOIA staff for processing.

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(1) Animal Care headquarters staff. An electronic search of the Animal
Care staff's records was conducted using the search term "Huntingdon." This
search yielded responsive records.
(2) Deputy Administrator's Office. A manual search for records about
Huntingdon was conducted through the files in the Animal Care Deputy
Administrator's Office. That search yielded one responsive file.
(3) Animal Care Regional Office. in the Animal Care Regional Office, an
clectronic search was conducted using Huntingdon's licence number and the state
in which it is located. That search yielded one responsive file.
B. IES. Two offices within IES were involved in the Huntingdon investigation --
JES Headquarters and the IES Regional Office in Raleigh, NC. Only the search of [ES
Headquarters yielded responsive records, all of which were copied and forwarded to the
APHIS FOLA staff for processing.
(1) IES Headquarters. A search of IES Headquarters’ electronic filing
system using the search term “Huntingdon” yielded one responsive file.
(2) TES Regional Office, At the time that IDA's request was received, the
IES Regional Office was not searched because it was not likely that responsive
records would have been located there. Once an investigation is closed, all
original copies of records collected or generated during that investigation are
forwarded to IES Headquarters, The investigation of Huntingdon was closed in
1998. Thus, all original copies of records related to the Huntingdon investigation

would have been maintained at IES Headquarters at the time that IDA’s request

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was received in 2000. Nevertheless, a search of the IES Regional Office was
conducted after IDA filed its lawsuit: also, an investigator who worked on the
Huntingdon investigation was asked about the possible location of additional
responsive records. However, neither of those efforts yielded any additional
responsive records.

Pursuant to 28 U.S.C. 1746, I declare under the penalty of perjury that the foregoing is

true and correct to the best of my knowledge.

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Dated: SH foA oe be pA —

Hugh-Gumore

ahs Specialist/Information Analyst
Freedom of Information Act Staff
Legislative and Public Affairs Division
Animal and Plant Health Inspection Service
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EXHIBIT A
 

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Michael Marquis ie ke xc _
Assistant Director, FOLA Officer - : 2
Animal & Plant Health Inspection Service (APHIS) : HN
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- This request for récordé is made under the Federal Freedom of Information Aci 5US.C.,.
sec. 552, by In Defense of Animals (IDA), a nonprofit organization (IRS-Code 50 1(¢)(3)

tax-exempt, number 68-000893
the public about issues involving animals.
This request is ditected at obtaining copies of the following documents:

    

3/1996 APHIS 1997 and!APHIS 1998 inspections and) “

) All materials related:to A

6} based int Mill Valley; CA, that is dedicated to educating

investigation filed on Humingdon Life Sciences, Inc., PO Box 2360 Mettlers Road, East

Millstone, NJ 08875, (license number: 22-R-0040),

r

Records requested should ‘include but not be limited to: all papers, photocopies, :

photographs (including captions and cutJines for the photographs), film, negatives, video .

recordings, sound recordings, documents, whether'stared electronically, on paper, on

videotape, in computer mémory or otherwise: voluntary correspondence associated with “_
the inspections/investigations; any documents related'to obligatory responses; affidavits,

interMiew Transcripts, notes (from. inspectiais, ‘iMvestigations, interviews, etc.); e-mails,
memos, interoffice memos, official memoranda ahd incident reports associated with the:
said inspections/investigations. , i =

~ If any records or détuments pertaining to this request are considered to be exempt from

' felease, please segregate and provide access to non-exempt portions.. Justify deletions by

reference to exemptions in the Freedom of Information Act.

Requester asks that fets related to processing:this request be waived pursuant 10 See, 552
(a) (4) (ili) of the Freedom of Information Act; which provides that: "documents shall be as

_ fumished without any charge or at a charge reduced below the fees established under-

=

IN DETUNSE OF ANIMALS + 151 CAMINO ALTO = MILL VALI, Cy, CASS = (475) 260-011 = Fax (475) Jas 07a

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5 clause (ii) "reasonable standard chargés" if the disclosure of the information is in the
-* public interest because it is likely to contributé significantly to public understanding of
‘ee eae: the operstions or activities of the government and is not primarily in the commercial.
interest of the requester." This request satisfies the cited waiver provision as follows:

- 1 %

1. The subject of all items requested concems the operations and activities of government;

namely, how inspections and investigations of biomedical research facilities are conducted

by the USDA; how violations of the federal Animal’ Welfare Act are documented: whether .
sanctions and or fines are imposed 6n violators: whit actions are taken ifthe violators

remain non-compliant with federal animal welfare Jaws and/or consent decrees resillting
from such inspections/investigations: So maw :

2, Disclosure of the requested information will contribute to public understanding of how.
the USDA monitors, inspects, investigates, and sanctions @ viviscction laboratory; and om.
how laboratory. animals are cared for at Huntingdon Life Sciences, Inc. ;

: 3, The requester has no commercial interest in the requested information:
"4. The requested information will be broadly disseminated to the public through prim and, ‘
electronic media, via our web site and to our members through newsletters and printed ©

literature by IDA. 7 : !

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Inasmuch as IDA is making this ingwiry in the course of carrying aut its educational ‘and
other charitable public interest activities, we request that all charges for searching and .

_ duplicating be waived. Should there be any difficulty: with the fee waiver request, either in
part or in full, pleasé supply a written response indicating the particular legal basis upon
which this decision was made, = ee .
All cotrespendence on this maner, including the sending of documents fulfilling this. ©
“request should be directed or sent to In Defense of Animals; ¢/o Dr: Elliot Katz,
President, 131 Camino Alto, Suite E. Mill Valley, CA, 9494], .

" -° Thank you for your attention to this matter.

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Respectfully submitted,

Cave IO a, oe as
Elliot M. Ka , om
President, In Defense of Animals

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Case 1:02-cv-00557-RWR Document 13-1 Filed 12/12/02 Page 24 of 31

EXHIBIT B
 

United States
Department of
Agneulture

Marketing and
Reguiaiory
Programs

Animal and
Pian Health
inspection
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4700 River Road
Aivardaie, MO Z07a7

CERTIFIED RETURN RECEIPT

April 13, 2001

Ms, Barbara Stagna

In Defense of Animals
Post Office Box 702
Ardsley, New York 10502

Dear Ms. Stagna:

This is in partial response to Mr. Elliot M. Katz’s, November 20, 2000, Freedom of
Information Act (FOTA) request for copies of al] 1996, 1997 and 1998 documents concerning
inspections and investigations on Huntingdon Life Sciences, Inc., a licensed research facility
in East Millstone, New Jersey. Mr. Katz's request was received im this office on November
28, 2000, and was assigned log number FOLA-01-86.

On April 3, 2001, I advised you that the FOLA office would send you a copy of the Report of
Violation, a copy of the Complaint, and copy of the Consent Decision and Order against
Huntingdon Life Sciences. The remainder of your request will be placed back in line for
review,

A determination of fees, if any, will be essessed when this request is completed in full and will
be sent to you along with our final response. Please direct any questions you have regarding
your request to Deborah Leilich at Area Code (301) 734-8296.

Sincerely,

Pl AGA

Kimberly Pacheco
Freedom of Information Act Officer
Legislative and Public Affairs

Enclosures:

1. 31 Pages

2. Report of Violation: Case Number NJ97020-AW, October 9, 1997
3. Complaint: AWA Docket No. 98-15, March 30, 1998

4. Consent Decision and Order, Apmil 8, 1998

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Case 1:02-cv-00557-RWR Document 13-1 Filed 12/12/02 Page 26 of 31

EXHIBIT C
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Anal and
Plant Health
Inspection
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Unit 40
Aiverdale, MD
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Certified-Return Receipt

June 18, 2002
Ms. Katherine A. Meyer

MEYER & GLITZENSTEIN
1601 Connecticut Avenue, NW
Suite 700

Washington, D.C, 20009

Dear Ms. Meyer:

This is in response to your November 20, 2000, Freedom of Information Act request
FOTA-01-86 which was received on November 28, 2000, for all information conceming
inspections/investigations filed against Huntingdon Life Sciences, Inc. during 1996-1998.
A partial response was furnished by this office on April 13, 2001 containing 31 pages citing
ne exemptions or deletions. This response covers the remaining responsive records,

Agency employees conducted a thorough search of their files and located 2779 responsive
documents, Of these responsive documents, 228 pages are being released in full, Another
146 pages of responsive documents are being released in part because information that js
personal in nature such as names and addresses of individuals has been withheld pursuant
to Exemption 6 of the FOIA, 5 U.S.C. 552 (b)(6). This exemption protects infomation
fom disclosure when its release would cause a clearly unwarranted invasion. of personal
Privacy. ;

Another 2384 pages of responsive records are being sent to the submitter of these records to
determine whether they are exempt from release under Exemption 4 of the FOIA, 5 U.S.C.
$52 (b)(4). One page is being released in part and the redacted portion of this record is
being sent to the submitter. These records are being sent to the submitter pursuant to 7 CFR
§ 1.12, which states that:

When in the course of responding to an FOTA request, an agency cannot
readily determine whether the information obtained from a person is
privileged or confidential business information, the policy of USDA is to
obtain and consider the views of the submitter of the information and to
provide the submitter an opportunity to object to any decision to
disclose the information.

These records may contain information such as trade secrets and commercial or financial
information which is privileged or confidential, and if so these records could be withheld
from disclosure pursuant to 5 U.S.C. 5§2 (b) (4). This exemption protects from disclosure
confidential business information, which if released, would cause substantial competitive
harm to the business submitter of the information.

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© ©)

Katherine A. Meyer, Esq.
Meyer and Glitzenstein
FOTA 01-86

6/18/02

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Furthermore, another 19 pages of information has been withheld in full and 1 page has been
withheld in part pursuant to Exemption § of the FOIA, $ U.S.C. 552(b)(5). This exemption
protects from disclosure interagency or intra-agency information that is deliberative and
pre-decisional and attomey work product, which includes documents and other memoranda
prepared by an attorney in contemplation of litigation.

We hope you find this information helpful. Fees have been waived. Please direct any

questions you have regarding your request to Hugh Gilmore at (301) 734-5385 or e-mail-
hugh. gilmore(@usda gov.

Sincerely,
Michael 8. Marquis
Assistant Director

Freedom of Information
Legislative and Public Affairs

Enclosures:
376 Pages
Case 1:02-cv-00557-RWR Document 13-1 Filed 12/12/02 Page 29 of 31

EXHIBIT D
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United States
Department of
Agriculture

Marketing and
Regulatory
Programs

Animal and
Plant health
Inspgction
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Freedom af
Information

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Certified-Return Receipt

August 19, 2002

Ms. Katherine A. Meyer

MEYER & GLITZENSTEIN

1601 Connecticut Avenue, NW., Suite 700
Washington, D-C. 20009

Dear Ms, Meyer:

This is in further response to the November 20, 2000, Freedom of Information
Act request that we received from your client In Defense of Animals. By that
request, which we received on November 28, 2000, IDA sought all information
concerning USDA inspections/investigations filed against Huntingdon Life
Sciences duringi1996-1998. We provided IDA with interim releases by letters
dated Apmil 13, 2001, and June 18, 2002. Because we have now completed the
administrative processing of the remaining 2468 pages responsive ta IDA's
request,' we are now providing IDA with a third, and final, release.

Enclosed you will find 303 pages released in full. However, we have withheld
602 pages in part and 1563 pages in full because they contain information that is
protected from disclosure under the FOIA pursuant to 5 U.S.C. § 552 (b)(4),
(b)(6), & (b)(7)(C). These provisions concem trade secrets or commercial or
financial information obtained from a person and which is privileged or
confidential, information the disclosure of which would cause a clearly
unwarranted invasion of personal privacy, and information compiled for law
enforcement purposes the release of which could reasonably be expected to
constitute an unwarranted invasion of personal privacy.

 

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Please note that this total number of pages is greater than the total number of remaining pages
referenced in our letter of June 18, 2002. This difference results from the fact that our previous
total did not include the sixty pages of redords that USDA obtained from People for the Ethical
Treatmemt of Animals, as well as from an apparent error in our initial page count,

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Ms. Katherine A. Meyer ree

Please be advised that we are providing you with the best copies available. We
are providing these records to IDA at no charge because, as we informed you in
our letter of June 18, 2002, we granted IDA's fee waiver request.

Sincerely,

Michael S. Marquis

Assistant Director

Freedom of Information
Legislative and Public Affairs

Enclosures:
905 Pages

TOTAL P.8S
